                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

       IN RE:
                                                                Chapter 11
                                               1
       STREAM TV NETWORKS, INC.,                                CASE NO.: 23-10763 AMC
                      Debtor,

       and                                                      Chapter 11
                                                                CASE NO.: 23-10764 AMC
       IN RE:
                                                                (Jointly Administered)
       TECHNOVATIVE MEDIA, INC.,

                      Debtor.

               HAWK INVESTMENT HOLDINGS LTD.’S RESPONSE TO
     REMBRANDT 3D HOLDING LTD.’S OBJECTION TO PROOFS OF CLAIM NO. 6
    FILED BY HAWK INVESTMENT HOLDINGS LTD., “AS COLLATERAL AGENT,”
    NO. 9 FILED BY SLS HOLDINGS VI, LLC, AND NO. 14 FILED BY SEECUBIC, INC.

        Hawk Investment Holdings, Ltd. (“Hawk”), as Collateral Agent for the secured

noteholders of SeeCubic, Inc. (“SeeCubic”), a secured creditor of Stream TV Networks, Inc.

(“Stream”) and Technovative Media Inc. (“Technovative” and, together with Stream,

the “Debtors”) in the above-captioned chapter 11 cases (together, the “Chapter 11 Cases”), by and

through its undersigned counsel, files this response (the “Response”) to Rembrandt 3D Holding

Ltd.’s Objection to Proofs of Claim No. 6 Filed by Hawk Investment Holdings Ltd., “As Collateral

Agent,” No. 9 Filed by SLS Holdings VI, LLC, and No. 14 Filed by SeeCubic, Inc. [ECF No. 628]

(the “Objection”), filed by Rembrandt 3D Holding Ltd. (“Rembrandt”).                    By the Objection,

Rembrandt seeks disallowance of the proofs of claim number 6 filed by Hawk (the “Hawk Claim”),

in its capacity as collateral agent on behalf of the secured noteholders of SeeCubic, proof of claim



1
 The Debtors, along with the last four digits of the Debtors’ federal tax identification numbers are Stream TV
Networks, Inc. (4092) and Technovative Media, Inc. (5015). The location of the Debtors’ service address is:
2009 Chestnut Street, 3rd Floor, Philadelphia, PA 19103.
number 9 filed by SeeCubic (the “SeeCubic Claim”), and proof of claim number 14 filed by SLS

Holdings VI, LLC (the “SLS Claim”). By this Response, Hawk only responds to the Objection

with respect to the Hawk Claim, and Hawk defers to SCI or SLS Holdings VI, LLC (“SLS”) to

reply in support of their own claims, if they so choose. In support of this Response, Hawk

respectfully represents as follows:

                                              INTRODUCTION

        1.       Nearly five months after Mathu Rajan’s removal as debtor-in-possession based on

his “untrustworthy” motivations and likely fraudulent conduct, he is still exerting influence in

these Chapter 11 Cases. See Order [ECF No. 549] & Memorandum [ECF No. 548], at pp. 31

(questioning Mr. Rajan’s motivations and trustworthiness), 32–38 (finding the alleged

Zhongsheng investment to be wholly unsubstantiated and “not real”). Mr. Rajan initiated the

Chapter 11 Cases in order to relitigate his previous legal battles that he either had lost or was poised

to lose—such as the 225 Action2—and the Objection is simply the continuation of this strategy.

        2.       By the Objection, Rembrandt has become Mr. Rajan’s new mouthpiece and seeks

to relitigate Mr. Rajan’s past battles—including several matters that this Court has previously

decided. For example, to sustain the Objection, the Court would need to issue rulings in (i) the

225 Action (see Objection, at ¶¶ 89–106)—despite the Court having already granted relief from

the automatic stay for Hawk to conclude such action before the Delaware Court of Chancery; and

(ii) the Adversary Proceeding3 (see id. at ¶¶ 87–88)—despite the Court having placed it under the

exclusive control of the Chapter 11 Trustee (the “Trustee”). Mr. Rajan, via Rembrandt, asks this

Court to revoke those decisions, effectively throwing out the past 15 months of these cases.


2
 As used herein, the “225 Action” means the case captioned as Hawk Investment Holdings Ltd. v. Stream TV Networks,
Inc., C.A. 2022-0930-JLT (Del. Ch.).
3
 As used herein, the term “Adversary Proceeding” shall mean the case captioned Stream TV Networks, Inc. v. Stastney,
No. 23-00057 (Bankr. E.D. Pa.), initiated by the Former DIP prior to the Chapter 11 Trustee’s appointment.


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            3.         It is not surprising that Rembrandt is doing Mr. Rajan’s bidding by filing the

Objection, as Rembrandt has acted as Mr. Rajan’s “lap dog” for years—from serving as a

petitioning creditor in the Debtors’ second bad faith bankruptcy case (orchestrated by, and at the

behest of, Mr. Rajan after Stream’s first bad faith bankruptcy was dismissed),4 to consistently

supporting each of the Debtors’ misguided pleadings throughout these Chapter 11 Cases,5 to

conspiring with Mr. Rajan to direct intellectual property to Mr. Rajan’s other venture (Visual

Semiconductor Inc., or “VSI”) through multiple clandestine and unapproved post-petition

agreements.6 In other words, Mr. Rajan and Rembrandt have colluded for years in order to further

Mr. Rajan’s agenda to the detriment of the interests of legitimate creditors.

            4.         Indeed, Mr. Rajan’s influence on these cases is alive and well, notwithstanding

Hawk’s efforts to date and the Court’s previous rulings to limit such influence. Mr. Rajan’s

fingerprints are apparent throughout the Objection. The Objection continues many of Mr. Rajan’s

past practices and strategies (including his penchant for failing to comply with the local rules of

this Court)7 as well as by relying almost entirely on Mr. Rajan’s statements made prior to his

removal. See Objection, ibid. It is clear that the Settlement Agreement (attached to the 9019

Motion8) between Hawk and the Trustee has prompted Mr. Rajan to activate his operatives in these

Chapter 11 Cases, as within a matter of days after the filing of the 9019 Motion, Rembrandt filed



4
    See Trustee Opinion, at p. 6.
5
    See id. at p. 9.
6
    See id. at pp. 49–51.
7
  See Local Bankruptcy Rule 3007-1 (imposing requirements on serving and scheduling claims objections); see also
Transcript of April 24, 2023 Hearing, at 5:25–6:4 (Court: “This is at least a third time that I’ve had to admonish
Debtor’s counsel about following the local rules. Notwithstanding my prior instructions to review the rule, this was
filed without following the process….”).
8
 As used herein, the “9019 Motion” shall mean the Motion of William A. Homony in his Capacity as Chapter 11
Trustee for Entry of an Order Approving a Settlement Agreement and Mutual Release with Hawk Investment Holdings,
Ltd., as Collateral Agent for the Secured Noteholders of SeeCubic, Inc., Pursuant to Fed. R. Bankr. P. 9019(a) and
11 U.S.C. § 105(a) [ECF No. 630].


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the Objection, VSI and Rembrandt each filed objections to the Trustee’s proposed retention of an

investment banker [ECF No. 633 and 635, respectively], and both VSI and Rembrandt’s attorneys

each commenced an email campaign of saber rattling seeking to delay the hearing on the 9019

Motion.

         5.       Rembrandt should not be allowed to serve as Mr. Rajan’s surrogate and prosecute

the Objection to further his interests. Mr. Rajan’s presence was a distraction at best—and outright

fraudulent at worst—previously during these cases, resulting in the Court taking the extraordinary

step of removing him as debtor in possession and appointing a trustee to exercise responsible

management of Debtors. It is therefore not surprising that in the few months since Mr. Rajan’s

excision from the cases that the Trustee and Hawk have reached the Settlement Agreement in order

to resolve all outstanding matters in these Chapter 11 Cases, to maximize the value of the assets

to pay legitimate creditors, and to provide finality for the parties involved. The Objection is Mr.

Rajan’s most recent attempt to cause delay and confusion as he had done prior to his removal, and

this Court should not allow him—or his surrogate, Rembrandt—to continue such distractions.

         6.       In addition to Rembrandt inappropriately acting as Mr. Rajan’s co-conspirator,

the Objection fails on its own merit as well. It serves only as an incomplete recitation of over a

decade of misleading facts that have no bearing on the Hawk Claim or any other matter in these

Chapter 11 Cases.9 Rembrandt’s potential causes of action for alleged infringement of its

intellectual property rights do not implicate the Debtors’ estates or whether the Debtors owe money


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  This Response does not provide an alternative recitation of the relevant factual history, which is set forth more fully
in the Hawk Claim. To the extent any refutation of the facts pertinent to the Hawk Claim are necessary, the facts set
forth therein are incorporated herein by reference.
For an additional recitation of facts not directly pertinent to the Hawk Claim, Hawk incorporates (a) the Court’s
findings of fact included in the Memorandum, at pp. 2–26 [ECF No. 548] and (b) Hawk’s factual allegations included
in the Brief in Support of Defendants Hawk Investment Holdings Limited and Arthur Leonard Robert Morton’s Motion
to Dismiss Plaintiffs’ Complaint for Lack of Personal Jurisdiction, Failure to Obtain Service, and For Failure to State
a Claim, at pp. 4–12, Adversary Proceeding [ECF No. 86].


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to Hawk or its other creditors. Moreover, the Objection is procedurally and facially deficient and

provides no basis to disallow the Hawk Claim. In fact, the Objection several times tacitly admits

that the Hawk Claim endures. Accordingly, even ignoring the bad faith motivations of Rembrandt

and its past history of carrying Mathu Rajan’s banner, the Objection fails and should be summarily

overruled.

                                                   RESPONSE

         7.       Though not entirely clear, the Objection appears to present four bases for the

disallowance of the Hawk Claim.10 First, the Objection attempts to call into question the prima

facie validity of the Hawk Claim, the basis of which is vague at best. See Objection, at ¶¶ 89, 125.

Second, it asserts that the Hawk Claim has previously been converted and no longer exists. See

id. at ¶¶ 89–106. Third, it argues that the Hawk Claim remains convertible even if it has not yet

been converted. See id. Finally, it argues that the Adversary Proceeding provides a basis for

disallowance of the Hawk Claim and incorporates the arguments set forth therein into the

Objection. See id. at ¶¶ 87–88. As set forth more fully below, each of these arguments fails.

A.       Claims Objection Standard Generally

         8.       The standard for claims objections is well-settled. The Bankruptcy Code and

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) accord prima facie validity to

any properly filed proof of claim that is supported by documentation demonstrating the underlying

obligations exist. See In re George, 606 B.R. 236, at 239 (Bankr. E.D. Pa. 2019); see also 11

U.S.C. § 502(a) (“A claim or interest, proof of which is filed under section 501 of this title, is

deemed allowed, unless a party in interest … objects.”); Fed. R. Bankr. P. 3001(f) (“A proof of


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  The Objection also states that the Hawk Claim, SLS Claim, and SeeCubic Claims are duplicative of each other;
however, it does not appear to object to the Hawk Claim on this basis, concluding, “[s]ince Hawk is acting as
‘Collateral agent,’ SLS and SeeCubic’s respective claims should be barred to the extent they duplicate the claim filed
by Hawk.” See Objection, ¶ 122.


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claim executed and filed in accordance with these rules shall constitute prima facie evidence of the

validity and amount of the claim.”). Specifically, Bankruptcy Rule 3001 outlines the requirements

in order for a claim to obtain prima facie validity, including, when such claim is based on a writing,

providing “a copy of the writing … with the proof of claim,” and, if the claim is filed as secured,

providing “evidence that [a] security interest has been perfected.”              See Fed. R. Bankr.

P. 3001(c)(1), (d).

        9.      “If a claim is facially valid, the objector must bring forward evidence that undercuts

at least one necessary element of the claim.” George, 606 B.R. at 239 (emphasis added); In re

Allegheny Int’l, Inc., 954 F. 2d, 167, 173–74 (3d Cir. 1992) (“[A] claim that alleges facts sufficient

to support a legal liability to the claim satisfies the claimant’s initial obligation to go forward. The

burden of going forward then shifts to the objector to produce evidence sufficient to negate the

prima facie validity of the filed claim.”). Such evidence must be “evidence equal in force to the

prima facie case” to overcome this presumption of validity. See Allegheny, 954 F.2d at 173. If

the objector overcomes this presumption, the burden shifts back to the claimant to establish the

existence of the claim by a preponderance of the evidence. See id. at 174.

B.      The Hawk Claim Is Prima Facie Valid

        10.     The Hawk Claim complies with all relevant parts of the Bankruptcy Code and

Bankruptcy Rules, and despite Rembrandt’s naked assertions otherwise—unsupported by any

argument whatsoever—it its entitled to prima facie validity. The Hawk Claim was based on a

series of documents, negotiated and executed by and among both Hawk and SLS (as lenders) and

Stream (as borrower), and, accordingly, included hundreds of pages of promissory notes (see

Hawk Claim, Exhibits A, F, G, and H), security agreements (see Hawk Claim, Exhibits C and J),

pledge agreements (see Hawk Claim, Exhibits D and M), financing statements (see Hawk Claim,

Exhibits E and N), interest/fee calculations (see Hawk Claim, Exhibits B and I), related ancillary

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documentation (see Hawk Claim, Exhibits K, L, and O), and an explanation of Hawk’s standing

to assert the Hawk Claim as previously determined by the Delaware Court of Chancery. The Hawk

Claim, with its supporting documentation, fully comports with the requirements of the Bankruptcy

Rules, as it attaches the documentation evidencing the debt obligations, the security interests and

perfection thereof, and the interest calculations with respect thereto. See Fed. R. Bankr. P.

3001(c)(1), (d).

       11.     The Delaware Supreme Court has expressly found that the Hawk Claim is valid.

See Stream TV Networks, Inc. v. SeeCubic, Inc., 279 A.3d 323, 327 (Del. 2022). In issuing its

ruling, the Delaware Supreme Court expressly found that SLS was Stream’s “senior secured

creditor” having loaned “$6 million to Stream through a series of secured notes,” and Hawk is

“Stream’s junior secured creditor” having loaned “more than £50 million, plus $1.336 million,

through a series of junior secured notes.” Id. As security for the foregoing debts, “Stream pledged

all of its assets” and executed supporting agreements that “authorized [SLS or Hawk, as applicable]

to take control of Stream’s assets to satisfy” the debts “if Stream defaulted.” Id.

       12.     The Objection asserts without further explanation or argument: “For the reasons

discussed in the preceding section, the claims of SLS, Hawk, and SeeCubic do not meet the

standards for prima facie validity and should be disallowed as requested.” Objection, ¶ 125. The

“previous section” relates to the purported duplicity of the various claims filed by Hawk, SLS, and

SeeCubic, yet such duplicity would have no bearing on the prima facie validity of any particular

claim, which turns solely on the inclusion of supporting documentation. See Fed. R. Bankr. P.

3001. Moreover, merely lacking prima facie validity is not a basis for disallowance alone—there

still must be some allegation or basis to assert that no debt underpinning the challenged claim

exists or is outstanding, which the Objection fails adequately to allege (as discussed further below).

See In re Ahmadi, 467 B.R. 782, 788 (Bankr. M.D. Pa. 2012) (“If, however, a claimant’s proof of

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claim fails to adhere to the rules, it is not simply disallowed; it merely loses any presumption of

prima facie validity. Further, a claim may only be disallowed for reasons set forth in § 502(b),

and not for failure to comply with [Bankruptcy] Rule 3001.”).

       13.     Instead, it appears the only basis Rembrandt advanced to defeat the presumption of

prima facie validity is Hawk’s failure to attach the Conversion Agreements to its claim. The Hawk

Claim’s lack of inclusion of the Conversion Agreements, however, is wholly unrelated to the

question, as (a) no portion of the amount of the Hawk Claim or its secured status is based upon the

Conversion Agreements, so these documents are not required under the Bankruptcy Rules; (b) all

parties in interest are aware of the existence of the Conversion Agreements, which have been of

material importance to several of the disputes before this Court (and other courts) to date; and (c)

even if the Conversion Agreements were included with the Hawk Claim, neither the amount nor

status of the Hawk Claim would change, as there has been no determination that any portion of the

Hawk Claim has been converted (and, indeed, several portions of the Hawk Claim are not subject

to a Conversion Agreement in any event).

       14.     Accordingly, the Hawk Claim includes all documentation as required by the

Bankruptcy Code and Rules in order to establish its prima facie validity, and the Objection includes

no basis to hold otherwise. All documentation supporting the amount and secured status of the

Hawk Claim was attached as evidence, and any alleged conversion of the debt remains subject to

a bona fide dispute pending as part of the 225 Action, which had not been resolved due to the filing

of the Chapter 11 Cases. It would be unreasonable to require Hawk to make the Debtors’

(or Mr. Rajan’s or Rembrandt’s) argument for them by also including documentation to support a

potential objection to the Hawk Claim as documentation. This is especially absurd in this case,

considering Hawk has spent years litigating the fact that—although repeatedly alleged by

Mr. Rajan and his allies—such a conversion has never occurred.

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C.       The Hawk Claim Has Not Been Converted

         15.       Next, the Objection asserts that the Hawk Claim should be disallowed because it

“has already been converted due to prior investment in Stream ….” See Objection, at ¶ 92. In

doing so, the Objection continues Mr. Rajan’s long-established practice of attempting to bypass

the Court of Chancery’s authority in the 225 Action to determine the question of conversion. As

with each of the previous times Mr. Rajan has attempted this maneuver however, the Objection

similarly fails.

         16.       Specifically, Rembrandt has produced no evidence—let alone evidence of

sufficient weight to overcome the Hawk Claim’s prima facie validity—to substantiate that any

portion of the Hawk Claim has been converted. George, 606 B.R. at 239. In fact, the only

“evidence” cited by the Objection at all is the Declaration of Mathu Rajan in Support of Stream

TV Networks, Inc. and Technovative Media, Inc. Chapter 11 Petition, Supporting Emergency

Relief, and First Day Motions [ECF No. 48] (the “First Day Declaration”), which the Objection

cites no less than fifty times. See Objection, ibid. It should go without saying that Mr. Rajan’s

statements on the record in these Chapter 11 Cases should be accorded little—if any—weight,

considering his removal as debtor-in-possession because of his self-interested motivations and lack

of candor with the Court.11

         17.       The reason the Objection is devoid of any credible evidence of conversion of the

Hawk Claim is simple—there is none. No such evidence exists, because the question of whether

the debt underpinning the Hawk Claim had been converted was the central focus of the 225 Action,


11
   This Court removed Mr. Rajan from his position as debtor-in-possession, expressly finding that “the Court does not
trust Mr. Rajan’s interest in or ability to maintain the integrity of these bankruptcy proceedings. Months into the case,
the Court lacks confidence that it has been given transparent information regarding what the Debtors are actually
doing, who is doing it, at what stage those efforts are, and how that is being accomplished ….” Trustee Opinion, at
pp. 72–73. Notwithstanding the Court’s reservations about Mr. Rajan’s credibility, Rembrandt seems to believe
Mr. Rajan’s statements—and only his statements—are completely sufficient to form the evidentiary foundations of
the Objection.


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which the Debtors thwarted by commencing these Chapter 11 Cases on the eve of trial. See Trustee

Opinion, at p. 7. In fact, the question of whether this Court should determine itself if such a

conversion occurred or defer to the Delaware Court of Chancery to make such determination was

the central point of contention before the Court with respect to Hawk’s motion for relief from stay.

See id. at pp. 25–26. The Court answered this question by modifying the automatic stay to allow

Hawk to conclude the 225 Action and allow the Court of Chancery to determine whether any

conversion had occurred. See id. at pp. 74–77. In fact, when the Trustee sought to have the Court

reconsider its granting of this relief from stay, the Court expressly rules, “I understand the concern

that those - - the decision in Delaware [on the 225 Action] could have some res judicata collateral

estoppel effect, but I always understood that from the very beginning. And one of the reasons I

wanted them to go back was to come to some decisions that would affect issues pending before

this Court.” Transcript of March 6, 2024, Hearing, In re Stream TV Networks, Inc., at 42:4–9

(Bankr. E.D. Pa.) (emphasis added).

         18.      Thus, Mr. Rajan—via Rembrandt—is asking this Court again to ignore its prior

decision to defer to the Delaware Court of Chancery and make the conversion determination

without reference to the 225 Action.12 Importantly, the Trustee and Hawk have recently reached

a Settlement Agreement that will completely resolve the 225 Action, in relevant part, by granting

Hawk (as collateral agent) an allowed secured claim in the amount of $180 million. See 9019

Motion, at ¶ 53(a). As described in the 9019 Motion, the Trustee has determined “that continuing

litigation over debt-to-equity conversion and other matters would be risky, costly, and perhaps


12
   This tactic is even more underhanded considering these Chapter 11 Cases have recently been transferred to the
Honorable Ashely Chan after Chief Judge Magdeline Coleman’s retirement. It appears Rembrandt hopes that Judge
Chan either does not read the Trustee Opinion and does not realize the Court has already expressly and intentionally
refrained from making this determination or that Judge Chan disagrees with Judge Coleman’s decision as part of the
Trustee Opinion and opts to try the issues anew. Either way, it is inappropriate and surreptitious to request such relief
without reference to this Court’s prior rulings, while understanding the posture of the Court.


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leave the estate without unencumbered assets to market or sell.” See id. at ¶ 37. As such, if this

Court were to entertain Rembrandt’s argument in the Objection that conversion has occurred, it not

only would be disregarding its own prior ruling, but it would also be ignoring the Trustee’s

independent assessment of the risks and merits of the 225 Action.

       19.     Finally, the only “evidence” that any party can introduce with respect to whether

any portion of the Hawk Claim has been converted is a decision from the Delaware Court of

Chancery expressly finding that conversion had not occurred as of November 10, 2021. See Hawk

Inv. Holdings Ltd. v. Stream TV Networks, Inc., No. 2022-0930-JTL, 2022 WL 17258460, at *2

(Del. Ch. Nov. 29, 2022) [hereinafter the “Collateral Estoppel Opinion”]. Specifically, as part of

the 225 Action, Stream had expressly made this exact argument with respect to conversion, and

the Delaware Court of Chancery found that no such conversion had occurred as of November

2021. See id. at *17 (“To resolve the Omnibus Agreement Litigation, the court had to address

whether a debt-to-equity conversion had occurred, and resolving that issue required a ruling on

whether a triggering event for exercising the conversion right had occurred. The Court ruled on

both topics [against Stream]. Stream cannot relitigate those rulings.”). Though the Objection

appears to challenge the Collateral Estoppel Opinion’s effectiveness and propriety, it does so by

asserting that the Delaware Court of Chancery applied the wrong standard for determining

collateral estoppel and by claiming collateral estoppel may not apply to the facts at hand for various

legal reasons. See Objection, at ¶¶ 96–98.

       20.     In other words, Rembrandt is asking this Court to sit in review of the Delaware

Court of Chancery and overturn—or, at least, ignore—its determination that the prior decisions of

the Delaware Supreme Court and Court of Chancery should be accorded collateral estoppel effect,

in direct contradiction to the Rooker Feldman Doctrine. See Marshall v. Abdoun (In re Marshall),

636 B.R. 396, 409 (Bankr. E.D. Pa. 2021) (“The Rooker Feldman doctrine deprives federal courts

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of jurisdiction in cases ‘brought by state court losers’ complaining of injuries caused by state court

judgments that were rendered before the district court proceedings commenced and which invite

review and rejection of those judgments.”). This Court has no authority to entertain an appeal of

the Delaware Court of Chancery’s ruling in the Collateral Estoppel Opinion, so this argument is

inapposite, and the only evidence in the record establishes that the Debtors had not effectuated any

conversion of its debts owed to Hawk as of at least November 2021. If Rembrandt (or Mr. Rajan)

wished to challenge the Court of Chancery’s determination in this regard, they should have filed

an appropriate appeal or completed the 225 Action rather than requesting this Court violate long-

standing federal law.

       21.        In sum, Rembrandt has not carried its burden in filing the Objection, as it has

produced no evidence to indicate that the Hawk Claim has been converted other than Mr. Rajan’s

unsubstantiated and unreliable statements in the First Day Declaration. No such evidence exists,

and the Trustee has determined that a settlement of the 225 Action is in the best interests of the

estates. Rembrandt has no basis to interfere with or dispute that determination.

D.     Whether the Hawk Claim Remains Convertible Is Not a Basis for Objection

       22.        Third, and relatedly, the Objection asserts that if the Hawk Claim has not yet been

converted, “it is presently convertible by new investment into Stream,” so it should be disallowed.

See Objection, at ¶ 92. Once again, the Objection includes no true argument supporting this

contention, though it does note that Rembrandt has made a proposal to the Trustee that would

result in the complete conversion of the Hawk Claim. See id. at ¶ 106. Once again, these

arguments fail.

       23.        Whether or not a claim remains convertible has no bearing on its allowance as a

claim in a bankruptcy case—the only question is whether or not such conversion occurred.

Rembrandt has provided no law in support of this proposition, because there is none. This

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argument is akin to saying that a debt is not allowable because it may be paid in full in the future.

Of course, if a debt were satisfied, the creditor would no longer have an allowed claim, but until

such satisfaction occurs, the claim remains. Similarly, until any such conversion occurs (to the

extent it remains a possibility), the Hawk Claim endures. In fact, Rembrandt’s allegation that the

Hawk Claim remains convertible is an express admission that the underlying debts have not been

converted, and remain outstanding obligations of the Debtors. Only a debt can remain subject to

conversion to equity under a debt-to-equity conversion agreement, so the Objection admits that

the Hawk Claim exists in this regard.

          24.   In reality, this argument in the Objection is a veiled attack on the Trustee’s

determination of the credibility—and ultimate rejection—of Rembrandt’s proposal to fund a plan.

Regardless, Rembrandt’s proposal is irrelevant to the allowance or disallowance of the Hawk

Claim. Any potential conversion of the Hawk Claim based on an equity investment by Rembrandt

would not occur until (a) the Trustee accepts such a proposal from Rembrandt, (b) Rembrandt

actually makes such an investment of a sufficient amount in the Debtors, and (c) all other

conditions of the Hawk Conversion Agreement are satisfied (which remain the subject of a bona

fide dispute in the 225 Action). Merely making a proposal that contemplates a transaction that

may result in conversion is an abjectly insufficient basis to object to the Hawk Claim that must be

denied.

E.        The Objection Improperly Seeks to Litigate the Adversary Proceeding, Which
          Cannot Form the Basis of an Objection to the Hawk Claim

          25.   Finally, the remainder of the Objection incorporates the “arguments and facts”

included in the Adversary Proceeding and seems to assert the Hawk Claim should be equitably

subordinated, stripped of its secured status, or otherwise disallowed based on alleged past bad

actions related to a “scheme … to take the valuable assets of the Debtors, obstruct the ability to


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raise the money needed to go to production and convert the secured debt to equity, and to avoid

paying $20 million in unsecured claims….” See Objection, ¶¶ 87–88. Such arguments, however,

are insufficient to form a basis to object to the Hawk Claim, and a claim objection is not the correct

procedural posture to ask the Court to make such a determination.

       26.     As an initial matter, there has been no determination in the Adversary Proceeding

that any of the alleged bad actions and “takeover scheme” has occurred, and the unsubstantiated

allegations lodged by Mr. Rajan in the Complaint are an insufficient basis to disallow the Hawk

Claim. In fact, the allegations included in the Complaint relate solely to a decade-old alleged plot

to manufacture defaults, conspire against the Debtors, and engage in other bad actions—all of

which have already been determined conclusively not to have happened by the Delaware Court of

Chancery. See Collateral Estoppel Opinion, at *17 (“Evidencing its wily ways with words, Stream

argues that although it purportedly is not challenging the court’s prior finding that ‘a default event

on the Hawk notes occurred in early 2020,’ Stream nevertheless remains free to litigate its

contention that there was an ‘unlawful conspiracy that artificially manufactured the 2020 default

events through bribery and internal sabotage.’ That is another way of contending that a default

never really occurred. If Stream wanted to advance that argument, it had to do so in the Omnibus

Agreement Litigation. Collateral estoppel bars Stream from advancing that argument now.”)

(emphasis added) (internal citations omitted).

       27.     More than just being barred by collateral estoppel, however, such a request as part

of the Objection is procedurally deficient too. Specifically, such determinations cannot be made

as part of the standard “contested matter” procedures applicable to the Objection and Hawk Claim,

and, instead, must be made as part of an adversary proceeding. See Fed. R. Bankr. P. 3007(b);

Fed. R. Bankr. P. 7001. Bankruptcy Rule 3007(b) provides, “[a] party in interest shall not include



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a demand for relief of a kind specified in [Bankruptcy] Rule 7001 in an objection to the allowance

of a claim, but may include the objection in an adversary proceeding.” Fed. R. Bankr. P. 3007(b).

         28.      It is clear that Mr. Rajan and Rembrandt are unhappy with the trajectory of these

cases since Mr. Rajan’s removal, prompting them to file the Objection in an attempt to cajole this

Court into ruling on questions which are only properly resolved in an adversary proceeding. The

Adversary Proceeding includes claims related to equitable subordination,13 avoidance of liens, and

other equitable relief, each of which are types of claims expressly included in Bankruptcy Rule

7001. See Fed. R. Bankr. P. 7001 (providing a list of matters that are the subject of adversary

proceedings and governed by Part VII of the Bankruptcy Rules, including “a proceeding to

determine the validity, priority, or extent of a lien or other interest in property,” “a proceeding to

obtain an injunction or other equitable relief,” and “a proceeding to subordinate any allowed claim

or interest”). In other words, the Objection may not incorporate the actions alleged in the

Adversary Proceeding (though the Adversary Proceeding may incorporate the matters alleged in

the Objection).

         29.      The facts alleged in support of the Objection have no bearing on the Hawk Claim

vis-à-vis a claim objection and all purely relate to alleged bad acts and unclean hands—the relief

for which must be brought as part of an adversary proceeding. Accordingly, the Court should

disregard all aspects of the Objection that would require the Court to make a determination in the

Adversary Proceeding, including any allegation related to disallowance or removal of Hawk’s

liens, subordinating the Hawk Claim based on alleged inequitable conduct, and any request for

injunctive or other equitable relief. These allegations are facially and procedurally defective and

are of no consequence to the Hawk Claim in the current posture.


 Like the Hawk Claim’s potential convertibility, the allegation of equitable subordination similarly assumes that the
13

Hawk Claim exists—a debt cannot be subordinated if it is not a debt.


                                                         15
                                         CONCLUSION

       Accordingly, Hawk respectfully requests that the Court (i) overrule the Objection and

decline to entertain Rembrandt’s attempts to bypass this Court’s prior rulings to collaterally attack

the Hawk Claim, and (ii) issue any further relief as it may deem just and appropriate.

Dated: May 16, 2024                           K&L GATES LLP

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                               CERTIFICATE OF SERVICE

       I, Steven L. Caponi, certify that on May 16, 2024, I caused a copy of the forgoing Hawk

Investment Holdings Ltd.’s Response to Rembrandt 3D Holding ltd.’s Objection to Proofs of Claim

No. 6 Filed by Hawk Investment Holdings Ltd., “As Collateral Agent,” No. 9 Filed by SLS

Holdings VI, LLC, and No. 14 Filed by SeeCubic, Inc. to be served on those persons receiving

notice through CM/ECF.

                                                          /s/ Steven L. Caponi
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